Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 1 of 21 Page ID #:9




                  EXHIBIT A
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 2 of 21 Page ID #:10




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       7    Attorneys for PlnintiffWESTERN AIR CHARTER, INC. dbn JET EDGE

       8                             SUl)ERIOR COURT OF CALlFORNTA

       9                            FOR THE COUNTY OF LOS ANGELES
      10                                      NORTHWEST DISTRICT
      11    WESTERN AlR CHARTER, lNC., doing
            business as JET BOGE INTEfu"lATl ON AL
                                                       Case No.:     i..G1C4:971           ttl'.
      12    a California corporation,              '                                      "< :
                                                                                          "TI !
      13
                                                       COMPLAlNT FOR:                     0·
                                Plai11tifi~            1. BREACH OF CONTRACT;             x!   l
      14                                               2, INTENTIONAL INTERFERENCE            I!
                  v.                                      WITH CONTRACTUAL
      15                                                  RELATTONS;
      .16   PAUL SCHEMBART, an individual; ACP         3. IlREACll OFTl::Ut DUTY Oli'
            JET CHARTERS, INC., doing business as             LOYALTY;
      17    PHENIX JET, a Florida corporation; and         4, INTENTIONAL INTERFERENCE
            DOES 1-50, inclusive,                             WITH PROSPECTIVE BUSINESS
      18                                                  ADVANTAGE;
      19                        Defendants.            5, NEGLIGENT INTERFERENCE
                                                          WITH PROSPECTIVE BUSINESS
      20                                                  ADVANTAGE;
                                                       6. TnADE SECRET
      21                                                     MISAI>PROPRIATION;
      22                                               7. UNFAIR COMPETITION;
                                                       8. DECLARATORY RELIEF;      :mu
      23                                               9. INJUNCTIVE RF.LIEF.
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Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 3 of 21 Page ID #:11




    1           Plaintiff WESTERN AIR CHARTER,               INC.    doing   business   as JET EDGE

    2    INTERNATIONAL, a California corporation ("JET EDGE"), alleges the following:
    3                                    GENERAL ALLEGATIONS
    4           1.      Plaintiff JET EDGE is> and at all relevant times herein mentioned was, a
    5    corporation organized and existing under the laws of the State of California, with its principal

    6    place of business in Van Nuys, Califomia. JET EDGE is a leading provider of jet charter,
    7    maintenance, and management services, with operations around the world.
    8           2.      Defendant PAUL SCHEMBARI ("SCI-IEMBARI") is a former JET EDGE

    9    management employee, whom at relevant times lived in and/or commuted frequently to
   10    California and worked continuously with JET EDGE in California and elsewhere.
   11    SCHEMBARI entered and finalized his JET EDGE employment agreement in California.
   12           3.      Defendant ACP JET CHARTERS, INC., doing business as PHENIX JET
   13    ("ACP"), is a Florida corporation established> owned, and/or controlled by SCHEMBARI that
   14    at all relevant times has done business in California. As set forth below, while still employed
   15    by JET EDGE, SCHEMBARI planned to set up and did set up and ACP to unfairly compete
   16    against JET EDGE using JET EDGE's confidential business and customer information.

   17           4.      Defendants DOES l through 50, inclusive, are sued herein under fictitious
   18    names. Their true names and capacities are unknown to JET EDGE. When their true names
   19    and capacities are ascertained, JET EDGE will amend this Complaint by inserting their true
   20    names and capacities herein. JET EDGE is informed and believes, and thereon alleges, that

   21    each of the fictitiously named Defendants are responsible in some manner for the occurrences

   22    herein alleged, and that JET EDGE's damages as herein alleged were proximately caused by

   23    Defendants' acts.
   24            5.     On July 18, 2013, JET EDGE entered into a Memorandum of Understanding
   25    with SOJITZ CORPORATION ("SOJITZ") that contemplated the purchase by SOJITZ of an

    26   equity stake in JET EDGE. SOJITZ represented several Japanese jet owners with Aircraft

    27   Charter and Management Agreements with JET EDGE.                These clients included: SAM

    28   CAYMAN, INC., SEGA SAMMY HOLDINGS, INC., FAST RETAILING CO., LTD., and



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                                                   COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 4 of 21 Page ID #:12




     1   POCKET CORPORATION. After the signing of the Memorandum of Understanding, those
    2    clients became clients of JET EDGE.

    3           6.      On or about February 12, 2014, JET EDGE entered into an Employment
    4    Agreement with SCHEMBARI under which SCHEMBARI was a Lead Pilot, eventually rising
    5    to Assistant Director of Operations. SCHEMBARI'S Employment Agreement contains, inter
    6    alia, enforceable non-competition, non-solicitation, non-disparagement, and provisions that
     7   prevent SCHEMBARI from preparing to compete against JET EDGE during his employment.
     8          7.      During his JET EDGE employment, SCHEMBARI had access to and used JET
     9   EDGE's confidential information, including trade secret information, regarding its operations,
    10   customers, and structure, and acted as a liaison to multiple JET EDGE clients. SCHEMBARI
    11   also was privy to and advised JET EDGE executives regarding confidential negotiations with
    12   SOJITZ.
    13          8.      In January 2016, ACP and JFI Jets merged to form Alerion Aviation.              JET
    14   EDGE is informed and believes and on that basis alleges that Alerion operates under the JFI Jets
    15   FAA certificate, discontinuing use of the ACP Jet Charters, Inc. certificate.
    16          9.      JET EDGE is informed and believes and on that basis alleges that
    17   SCHEMBARI, while still employed by JET EDGE, as part of his and DEFENDANTS' scheme
    18   to unfairly compete against JET EDGE, launched a competing business by, inter alia,
    19   negotiating the acquisition of the ACP name and the FAA airline certificate owned by ACP.
    20           10.    For example, on February 4, 2016, while still employed by JET EDGE,
    21   SCHEMBARl registered the domain name "phenixjet.com." - an entity that SCHEMBARI is
    22   currently using to unfairly compete with and steal JET EDGE'S clients and business.
    23           11.    Effective March 14, 2016, SCHEMBARI resigned from JET EDGE, stating that
    24   he intended to return home to California to accept a position as a pilot to be closer to his family.
    25   SCHEMBARI made similar representations regarding his intention to return to California to
    26   multiple coffworkers, including his intention to be near sick family members, and to assist in the
    27   operation of his family business. Those representations were false and designed to conceal the
    28   real reasons for SCHEMBARl's resignation, which was to finalize his preparations to launch a



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                                                     COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 5 of 21 Page ID #:13




    I    business to compete against JET EDGE and, ultimately, steal JET EDGE's customers and
    2    business.
    3              12.     On March 15, 2016, one day after leaving JET EDGE's employ, SCHEMBARI
    4    incorporated PHENIX JET INTERNATIONAL in Guam. The Guam Chamber of Commerce
    5    website identifies SCHEMBARI as the President of PHENIX JET. Shortly thereafter, several
    6    JET EDGE customers terminated their JET EDGE contracts in favor of SCHEMBARI's new
    7    entity.
    8              13.     In May 2016, two months after SCHEMBARI resigned, SOJITZ abruptly broke
    9    off negotiations. On information and belief, SOJITZ broke off negotiations because it intended
   10    to pursue a relationship with a SCHEMBARJ~related entity.
   11              14.     In the months following SCHEMBARI's departure from JET EDGE, four JET
   12    EDGE customers te1minated their Aircraft Chat1er and Management Agreements with JET
   13    EDGE.           Those customers include POCKET CORPORATION, SEGA SAMMY, SAM
   14    CAYMAN, and FAST RETAILING.
   15              15.      Valid contracts, in the form of Aircraft Charter and Management Agreements,
   16    existed between JET EDGE and its customers including SAM CAYMAN, INC., SEGA
    17   SAMMY HOLDINGS, FAST RETAILING CO., LTD., and POCKET CORPORATION.
    18             16.      Those former JET EDGE customers, SAM CAYMAN, INC., SEGA SAMMY
    19   HOLDINGS, FAST RETAILING CO., LTD., and POCKET CORPORATION, have made
   20    agreements with SCHEMBARI or ACP and are now chartered and managed by ACP.
   21              17.      On March 23, 2016, Pocket Corporation terminated its relationship with JET
   22    EDGE. The aircraft owned by Pocket Corporation, N-number N81 OTS, is now listed on the
    23   commercial operating certificate for ACP JET CHARTERS.

    24             18.      On October 20, 2016, SAM CAYMAN tenninated its Aircraft Charter and
    25   Management Agreement with JET EDGE for the aircraft with tail number N25 l TD.

    26             19.      On October 21, 2016, two more customers, FAST RETAILING and SEGA
    27   SAMMY te1minated their Aircraft Charter and Management Agreements with JET EDGE for
    28   the aircraft with tail numbers N871FR and Nl 15MH, respectively.



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                                                     COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 6 of 21 Page ID #:14




     1          20.     On December 19, 2016, SOJITZ notified JET EDGE that the aircrafts owned by
    2    SAM CAYMAN, FAST RETAILING, and SEGA SAMMY were to be removed from JET
    3    EDGE's Air Carrier Certificate and the aircraft records, logbooks and appropriate documents

    4    transferred to SOJITZ's new management company ACP Jet Charters, Inc., which is owned and
    5    operated by DEFENDANTS, including SCHEMBARI.

     6          21.     Documents filed with the Florida Secretary of State identify SCHEMBARI as

    7    ACP JET CHARTERS' President.           SCHEMBARI applied for a fictitious business name in
     8   Florida for ACP JET CHARTERS to do business as PHENIX JET.
     9          22.     SCHEMBARI is the owner or partial owner of ACP JET CHARTERS doing
    10   business as PHENIX JET (hereinafter "ACP").
    11          23.     The Employment Agreement between Jet Edge and SCHEMBARI defines
    12   Confidential Information in Section 6.1, which states in part:
    13                 6.1     Confidential Information. Company may, in its discretion, convey
                to Employee, either verbally, or by written, printed, graphic, pictorial, electronic,
    14          or other forms of communication, certain confidential, trade secret, and/or
                proprietary information of Company ("Confidential Information), 11 Confide11tial
    15          Information" is to he broadly defined and inclutles all information that has or
                could have commercial value or other utility in tile business of Company,
    16          (including its affiliates, partners, principals, employees, representatives, and
                contractors), its clients, and all others with whom it does business. Confidential
    17          Inf011nation includes, but is not limited to inventions (whether or not patentable or
                reduced to practice); innovations; improvements; know~how; techniques;
    18          methods; processes; treatments; drawings; sketches:. specifications; designs;
                patterns; models; client lists; client it/entities; client co,ztact information; client
    19          personal bifomiatiou; client leads and referral sources; client profiles; client
    20          preferences; client purchasing habits a,ul history; client co11tracts;,, pricing;
                schedules; marketing and sales strategies, plans, and materials; financial
    21          information and bank statements; forms, policies and procedures; personnel
                records and data; compensation data; employee rosters and contact information;
    22          names of suppliers; contracts with employees and third parties; payments to third
                parties; licensing deals; profits and margins, analytics and modeling; legal
    23          documents; business plans: forecasts; works in progress; research and
                development; pending projects and proposals; investor, lender, and supplier
    24          information; technological data; internal communications; manuals; training
                materials; compilations: software programs; source code; object code; and all
    25          other confidential or proprjetary information or trade secrets in any document,
                form or medium (whether merely remembered or embodied in a tangible or
    26          intangible form or medium) ....
    27
         (Employment Agreement, p. 3, emphasis added.)
    28


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                                                    COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 7 of 21 Page ID #:15




    1           24.     The Employment Agreement contains the following lawful, enforceable
    2    restrictions on competition:
    3                   7.1     Restrictions on Competition. Employee acknowledges that (i) tlte
                identities of and other Confidential Information regarding, post:t cm·re11t, and
    4           prospective clients and business part11ers of Company are confidential and
                proprietary a,ul co11stitute trade secrets mu/er applicable law, and are not
    5           ge11erally known,· (ii) Company uses reasonable efforts to maintain the
                confidentiality of a11 of its Confidential Information; (iii) Company expends
    6           substantial time and resources to obtain and maintain relationships with its past
                cun·ent, and prospective clients and business partners; (iv) due to the unique
    7           nature of Company's business relationships; contracts, and industry. the restrictive
                time periods set forth in this Agreement arc reasonable and necessary under the
    8           circumstances. Employee understands and acknowledges that the business
                requirements and likes and dislikes of Company's clients are intrinsic to the value
    9           of this information. Accordingly, Employee furtlter agrees, to tlie extent
   10           permitted by applicable law, t!tat Employee will not, during or at any time after
                Employee's employment, without t/ze prior writte1t consent of Company, solicit
   11           any oftlie past, current, or prospective clients or business partners of Company
                to tlo business witfi any person or entity whose business competes with the
   12           busi11ess of Company, in each case, to tlte extent that the identity of or other
                i11formatio11 regarding, sue!, client or business partner constitutes a tmde secret
   13           of Company mu/er applicable law, and/or to tlte extent tltat suclt solicitation
                i1tvolves acquisition, disclosm·e, 01· use of Company's Confidential Information.
   14           Employee further agrees not to keep or use client lists, client information, and/or
                any other Confidential Information to mail, e-mail, or in any other manner contact
    15          or communicate with Company's clients (past, present and future) for the purpose
                of soliciting business for Employee's own business interests or the business
    16          interests of any person or entity, and further agrees not to take, promote,Jurther
                or cause any action that is designed to or /,as tlte effect of interfering with
    17          Company's client, contractual, business, vendor, economic, tlzir<l party amllor
                employment relationships. Employee further agrees that during the course of his
    18           or her employment with Company, Employee will not directly or indirectly
                 compete with Company or aid any other individual or organization in competition
    19           with Company. Employee further agrees that Employee will never use
   20            Confidential Information to compete with Company, both during and after
                 Employee's employment, in perpetuity.
    21
    22   (Employment Agreement, pp. 5-6, emphasis added.)

    23           25.     The Employment Agreement contains the following lawful, enforceable

    24   restrictions on solicitation:
                         7 .2 Non-solicitation. For one (1) year after termination of Employee's
    25
                 employment relationship with Company, Employee will not, either directly or
    26           indirectly; induce, solicit; recruit, or encourage any person employed by Company
                 to end their employment relationship with Company. and will not disrupt;
    27           damage, impair, or interfere with the relationship between Company and of its
                 officers, executives, contractors, employees or consultants.
    28


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                                                    COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 8 of 21 Page ID #:16




     l   (Employment Agreement, p. 6.)
     2          26.      The Employment Agreement also contains the following lawful, enforceable
     3   prohibition on planning organizing a competing business:
     4                 7.4     Prohibition on Planning. During Employee's employment with the
                Company, Employee will not, either alone or in combination with other
     5          employees or agents of the Company, plan for or Ol'ganize ally business, entity,
                organization, or activity competitive with tl,e Company.
     6
         (Employment Agreement, p. 6.)
     7
                27.      On March 14, 2016, SCHEMBARI executed an employment separation
     8
         agreement, reaffirming his agreement to be bound by the Employment Agreement's provisions,
     9
         including but not limited to the provisions referenced above ("Employment Separation
    10
         Agreement").
    11
                                             Jurisdiction and Venue
    12
                28.      JET EDGE is a California corporation with a principal place of business in Van
    13
         Nuys, California.
    14
                29.      SCHEMBARI is originally from California, and has within the last few years
    15
         used at least two addresses located within California.
    16
                30.      SCHEMBARl's employment agreement contains a California choice of law
    17
         provision.
    18
                31.      During the    entirety of SCHEMBARI's         employment by JET EDGE,
    19
         SCHEMBARI reported to supervisors located in Van Nuys, California, at JET EDGE
    20
         headquarters.
    21
                32.      This action arises out of the Employment Agreement made between
    22
         SCHEMBARI and JET EDGE in California.
    23
                33.      SCHEMBARI knew or should have known that his actions would result in lost
    24
         sales and lost profits that would be felt by JET EDGE in Van Nuys, California. The harms
    25
         alleged and complained of herein occurred in the County of Los Angeles, State of California.
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                                                    COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 9 of 21 Page ID #:17




                                         FIRST CAUSE OF ACTION
     1
                                          Breach of Written Contract
     2                                 (Against Defendant SCHEMBARI)

     3           34.     JET EDGE realleges and incot·porates herein by reference the allegations
     4   contained in paragraphs 1 through 33, inclusive, with the same force and effect as though fully
     5   set forth herein.

     6           35.     As set forth above, during and after his employment with JET EDGE,
     7   SCHEMBARI acted in violation of the terms of his Employment Agreement when he used JET
     8   EDGE confidential and trade secret information to form a competing business. SCHEMBARI
     9   planned this competing venture prior to leaving Jet Edge, also in violation of the Employment
    10   Agreement and California law.       SCHEMBARI's actions resulted in multiple JET EDGE

    11   customers terminating their relationships with JET EDGE and making charter and management

    12   agreements with SCHEMBARI and ACP.

    13           36.      On March 15, 2016, SCHEMBARI incorporated PHENIX JET.

    14           37.      In the months following SCHEMBARI's departure from JET EDGE, multiple

    15   JET EDGE customers te1minated their Aircraft Charter and Management Agreements with JET
    16   EDGE.         Those customers include POCKET CORPORATION, SEGA SAMMY, SAM
    17   CAYMAN, and FAST RETAILING. Further, those former JET EDGE customers have made

    18   agreements with SCHEMBARI or ACP and are now chartered and managed by ACP.
    19           38.      JET EDGE substantially performed all of its obligations under the Employment
   20    Agreement; or its performance was excused.

    21           39.      As a result of SCHEMBARI' s continuing breach of the Employment Agreement,

   22    JET EDGE has suffered and continues to suffer damages in an amount to be proved at trial.
    23           40.      SCHEMBARI has been unjustly enriched as a result of his breach of the
    24   Employment Agreement.

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                                                   COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 10 of 21 Page ID #:18




     1                                       SECOND CAUSE OF ACTION
                                   Intentional Interference With Contractual Relations
     2                                           (Against All Defendants)

     3                  41.   JET EDGE realleges and incorporates herein by reference the allegations
     4   contained in paragraphs 1 through 40, inclusive, with the same force and effect as though fully
     5   set forth herein.

     6                  42.   During and after his employment with JET EDGE, SCHEMBARI planned to
     7   unfairly compete with JET EDGE and has done so by inducing JET EDGE customers to
     8   terminate their JET EDGE agreements and create new agreements with SCHEMBARl's
     9   competing venture,

    10                  43.   Valid contracts, in the form of Aircraft Charter and Management Agreements.,
    11   existed between JET EDGE and its customers, including SAM CAYMAN, INC., SEGA
    12   SAMMY HOLDINGS, FAST RETAILING CO., LTD., and POCKET CORPORATION.
    13                  44.   JET EDGE is informed and believes, and thereon alleges, SCHEMBARI has
    14   interfered with additional contractual relations between JET EDGE and other customers.
    15                  45.   As a result of employment, SCHEMBARI had intimate knowledge of JET
    16   EDGE's contracts and customers.

    17                  46.   SCHEMBARI took intentional actions designed to induce a disruption of the
    18   contractual relationships between JET EDGE and its customers.
    19                  47.   SCHEMBARI's wrongful actions have in fact resulted in the actual disruption of
    20   those contractual relationships in the f mm of termination of those contracts.
    21                  48.   JET EDGE has suffered damages as a result of the te1mination of those contracts
    22   in the form of lost revenue in an amount to be proved at trial.
    23                                        THIRD CAUSE OF ACTION
                                              Breach of the Dutv of Loyalty
    24                                      (Against Defendant SCHEMBARI)
    25                  49.   JET EDGE realleges and incorporates herein by reference the allegations
    26   contained in paragraphs 1 through 48, inclusive, with the same force and effect as though fully
    27   set forth herein.
    28   //



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                                                        COMPLAINT
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Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 11 of 21 Page ID #:19




     1           50.        As a result of his JET EDGE employment, SCHEMBARI owed a duty of loyalty
     2   to JET EDGE.

     3           51.        As set forth above, SCHEMBARI breached his duty of loyalty to JET EDGE by
     4   talcing actions in direct competition with JET EDGE, and/or planning to compete directly with
     5   JET EDGE while employed by JET EDGE.
     6           52.        As a result of misconduct, JET EDGE has been damaged in an amount to be
     7   proved at trial.
                                           FOURTH CAUSE OF ACTION
     8
                            Intentional Interference With Prospective Business Advantage
     9                                         (Against All Defendants)

    10           53.        JET EDGE realleges and incorporates herein by reference the allegations
    11   contained in paragraphs 1 through 52, inclusive, with the same force and effect as though fully
    12   set forth herein.
    13           54.        On July 18, 2013, JET EDGE and SOJITZ entered into a Memorandum of
    14   Understanding ("MOU") pertaining to the potential purchase by SOJITZ of an equity stake in
    15   JET EDGE. Negotiations were ongoing from the date of signing of the MOU until May 2016.
    16           55.        DEFENDANTS knew of and participated in negotiations between JET EDGE
    17   and SOJITZ.
    18           56.        DEFENDANTS took actions to disrupt the negotiations between JET EDGE and

    19   SOJITZ, including but not limited to secretly setting up a competing venture and negotiating
    20   with SOJITZ to fund and/or co-venture in that competing business.
    21           57.        As a result of DEFENDANTS' malfeasance, on May 5, 2016, SOJITZ cancelled
    22   negotiations with JET EDGE.
    23           58.        As a result of that cancellation, JET EDGE lost the benefit it would have
    24   received from contemplated venture with SOJITZ.
    25   II
    26   II
    27   II
    28   //



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                                                    COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 12 of 21 Page ID #:20




     1                                       FIFTH CAUSE OF ACTION
                             Negligent Interference Witl1 Prospective Business Advantage
     2                                         (Against All Defendants)

     3           59.     JET EDGE realleges and incorporates herein by reference the allegations

     4   contained in paragraphs 1 tlu·ough 58, inclusive, with the same force and effect as though fully

     5   set forth herein.

     6           60.     An economic relationship existed between JET EDGE and SOJITZ in the form

     7   of the MOU. That relationship had a reasonably probable future economic benefit or advantage

     8   to JET EDGE.

     9           61.     DEFENDANTS knew of the MOU and the relationship it embodied.
    10   DEFENDANTS also knew that their actions could interfere with the relationship between JET
    11   EDGE and SOJITZ and could cause JET EDGE to lose the probable future economic benefit or
    12   advantage of the relationship.

    13           62.     DEFENDANTS acted negligently in interfering with and destroying JET
    14   EDGE's relationship with SOJITZ.

    15           63.     DEFENDANTS' negligence caused damage to JET EDGE in that the
    16   relationship between JET EDGE and SOJITZ has been actually interfered with and/or disrupted.

    17           64.     As a result of DEFENDANTS' malfeasance, JET EDGE lost the economic

    18   benefit or advantage reasonably expected from the relationship.

    19                                    SIXTH CAUSE OF ACTION
                                 Trade Secret Misappropriation Under the CUTSA
    20                                  (Against Defendant SCHEMBARI)
    21           65.     JET EDGE realleges and incorporates herein by reference the allegations
    22   contained in paragraphs 1 through 64, inclusive, with the same force and effect as though fully
    23   set forth herein.
    24           66.     JET EDGE's trade secret information includes its info1mation regarding its
    25   business operations, client lists, client contact information, fleet information, and client contract
    26   terms. This information is valuable to JET EDGE and derives independent economic value
    27   from not being generally known to the public. This information would be immediately valuable
    28   to a competitor of JET EDGE.



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                                                     COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 13 of 21 Page ID #:21




     1              67.   JET EDGE has taken reasonable efforts to maintain the secrecy of its trade
     2   secrets.

     3              68.   SCHEMBARI misappropriated JET EDGE's trade secret information, through
     4   his wrongful use of that information to compete against JET EDGE before and after the
     5   termination of his employment
     6              69.   As a result of SCHEMBARI's actions, JET EDGE has suffered damages in an
     7   amount to be proven at trial.
     8                                  SEVENTH CAUSE OF ACTION
                    Unfair Competition under Under Business & Professions Code 17200 et seq.
     9                                 (Against Defendant SCHEMBARI)

    10              70.   JET EDGE realleges and incorporates herein by reference the allegations
    11   contained in paragraphs 1 through 69, inclusive, with the same force and effect as though fully
    12   set forth herein.
    13              71.   SCHEMBARI has used and continues to use JET EDGE's confidential
    14   information to unfairly compete with JET EDGE and to solicit business of JET EDGE's
    15   customers.
    16              72.   SCHEMBARI has acted unlawfully and has is conducting an unfair business
    17   practice by misusing JET EDGE confidential information during and after the course of his
    18   employment with JET EDGE to unfairly compete with JET EDGE.
    19              73.   The extent of SCHEMBARI's improper activities during and after his
    20   employment with JET EDGE are not entirely known.
    21                             EIGHTH CAUSE OF ACTION
                                           Declaratory Relief
    22                                 (Against All Defendants)

    23              74.   JET EDGE realleges and incorporates herein by reference the allegations
    24   contained in paragraphs 1 through 73, inclusive, with the same force and effect as though fully
    25   set forth herein.
    26              75.   An actual controversy now exists between the parties as to their respective rights,
    27   duties, and obligations under the terms of the Employment Agreement.
    28



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                                                     COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 14 of 21 Page ID #:22




     1           76.     JET EDGE contends that under the Employment Agreement, SCHEMBARI is
     2   prohibited from using information he obtained while employed at JET EDGE, including but not
     3   limited to information relating to JET EDGE clients to solicit business from those clients.
     4           77.     JET EDGE further contends that SCHEMBARI and other DEFENDANTS have
     5   interfered with and obstructed JET EDGPs rights to protection of its confidential information
     6   and trade secrets under the Employment Agreement by soliciting business from JET EDGE

     7   clients, thereby causing those clients to terminate valuable contracts with JET EDGE.
     8           78.     JET EDGE alleges on information and belief that DEFENDANTS dispute JET
     9   EDGE's contentions herein.
    10           79.     A declaration of the rights, duties, and obligations of the parties is necessary to
    11   determine and protect JET EDGE's rights, and to avoid a multiplicity of actions.
    12                                     NINTH CAUSE OF ACTION
                                                  Injunctive Relief
    13                                        (Against All Defendants)
    14           80.     JET EDGE realleges and incorporates herein by reference the allegations
    15   contained in paragraphs 1 through 79, inclusive, with the same force and effect as though fully
    16   set forth herein.
    17           81.     Unless enjoined, DEFENDANTS will continue to misappropriate JET EDGE's
    18   confidential information and trade secrets in violation of the Employment Agreement, interfere
    19   with JET EDGE's contracts and business relationships, and violate the laws of the State of
    20   Califomia, including Califomia Bus. & Prof. Code § 17200, et seq.
    21           82.     DEFENDANTS' wrongful conduct, unless and until enjoined and restrained by
    22   order of this Court, will continue to cause great and iITeparable injury to Plaintiff.
    23           83.     JET EDGE has no adequate remedy at law for the wrongful acts being
    24   committed and damages currently being suffered> in that that they would not completely
    25   compensate for the injury to JET EDGE's business relationships, business reputation and
    26   goodwill.
    27           84.     SCHEMBARI explicitly agreed in the Employment Agreement that injunctive
    28   relief is necessary and proper where, as here, the agreement is breached, or there is a threatened



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                                                     COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 15 of 21 Page ID #:23


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        1   breach:
                      In the event of a breach, or a threatened breach, by Employee of this Agreement,
        2             Company shall ltave tlie rigltt to ltave tlte provisions of this Agreement
                      specifically enforced by any Cow·t having equity jurisdiction, because breach or
        3             tltreatene,l breach will cause irreparable injury to Company and money
                      damages will not provide a11 adequate remedy. Tims, Company shall be entitled
        4             to injunctive relief, specific pe,formance, or bot!,, and sltall be entitled to have
                      elltered a temporary restraining order, preliminary or permanent injimction, or
        5             order compelling specific performance, without the necessity of posting a bond
                      or other security, in addition to whatever other remedies may be available at law
        6             or otherwise.
        7   (Employment Agreement, Section 9, pp. 6-7.)
        8             85.    Therefore, JET EDGE seeks an order from the Court enjoining and directing
        9   DEFENDANTS and those acting in concert with them, to: (a) refrain from using JET EDGE's
       10   confidential information and/or trade secrets to initiate any further contact with any client or
       11   former client of JET EDGE whom SCHEMBARI learned of while working with Plaintiff,
       12   and/or any prospective customer or any customer whose identity SCHEMBARI learned as a
       13   result of his employment with JET EDGE; (b) refrain from using JET EDGE's confidential
       14   information and/or trade secret information to interfere with JET EDGE contractual
       15   relationships, specifically aircraft charter and management agreements; and (c) refrain from any
       16   other further breaches of the Employment Agreement.
       17                                         PRAYER FOR RELIEF
       18             WHEREFORE, JET EDGE prays for judgment as follows:
       19   1.        For general, special, consequential and incidental damages of more than $25,000,
       20   according to proof.
       21   2.        For restitution and/or disgorgement of all money, profits, compensation or property
       22   DEFENDANTS have acquired or will acquire by any wrongful or unlawful means.
       23   3.        For an order requiring DEFENDANTS to show cause, if any, why they should not be
       24   enjoined, as hereinafter set forth, during the pendency of this action.
       25   4.        For a temporary restraining order, a preliminary injunction, and a permanent injunction
       26   requiring DEFENDANTS and those acting in concert with them:
       27   II
       28   //



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                                                         COMPLAINT
    Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 16 of 21 Page ID #:24



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           1          a.     To refrain from using JET EDGE's confidential information and/or trade secrets
           2   to initiate any further contact with any client or former client of JET EDGE or to improperly
           3   and unfairly compete against JET EDGE;
           4          b.     To refrain from using JET EDGE's confidential information and/or trade secret
           5   information to interfere with JET EDGE's contractual relationships, including but not limited
           6   aircraft charter and management agreements; and
           7          c.     To refrain from any other further breaches of the Employment Agreement.
           8   5.     For exemplary and punitive damages.
           9   6.     For costs of suit incurred herein.
          10   7.     Attorney's fees.
          11   8.     For pre-judgment interest at the legal rate.
          12   9.     For such other and further relief as the Court may deem just and proper.
          13
          14   Dated: December 20, 2016                              MICHELMAN & ROBINSON, LLP
          15

          16
                                                                     By:       r..:
          17                                                               Sanforo L. Michelman
                                                                           Peter L. Steinman
          18                                                               Attorneys for Plaintiff
          19                                                               WESTERN AIR CHARTER, INC.
                                                                           doing business as JET EDGE
          20                                                               INTERNATIONAL
          21

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                                                           COMPLAINT
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 17 of 21 Page ID #:25




MIR   MICHELMAN & ROBINSON, LLP
      ATTORNEYS AT LAW

                                                                 Los Angeles Office
      Matthew F. Murray
                                                                 10880 Wilshire Boulevard, 19th Floor
      mmurray@mrllp.com
                                                                 Los Angeles, CA 90024
                                                                 P 310.564.2670 F 310.564.2671 www.mrllp.com



                                                                 December 21, 2016



       VIA OVERNIGHT DELIVERY

       Steven M. Chanley, Esq.
       735 Tank Farm Road, Suite 224
       San Luis Obispo, CA 93401

                Re:       Jet Edge v. Paul Schembari, ACP Jet Charters, Tnc., et al.

       Dear Mr. Chanley:

                As you are aware, this firm represents Plaintiff Western Air Charter, lnc., dba Jet Edge
       International. Per your November 10, 2016 correspondence, we understand that you represent
       Defendants Paul J. Schembari and ACP Jet Charters, Inc., dba Phenix Jet Copies of the
       summons and December 20, 2016 complaint and related documents are enclosed. Kindly
       complete and return the enclosed Notice and Acknowledgment of Receipt.



                                                                  Sincerely,

                                                                  MICHELMAN & ROBINSON, LLP




                                                                  Matthew F. Murray, Esq.




        Los Angeles         Orange County   I   Sacramento     San Francisco          Chicago           New York
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 18 of 21 Page ID #:26



                                                                                                                                        POS-015
 AlTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, onc!Mdross}:                                             FOR COURT USE ONLY
  Sanford L. Michelman SBN 179702; Peter L. Steinman SBN 144303
-MICHELMAN & ROBINSON, LLP
  10880 Wilshire Boulevard, 19th Floor, Los Angeles, CA 90024

           TELEPHONENO.: (310} 564-2670                  FAX NO. (Opt{onol}: (3 J0) 564~2671
   E·IMILADDRESS /Optfonot/: smichclman@mrllp.com; pstei nman@mrllp.com
      ATTORNEV FOR (Namo): Plaintiff WESTERN          AIR CHARTER, INC.

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
       STREET AOORESS: 6230 Sy!mar A venue
       MAILINGAODRESS:6230 Sylmar Avenue
      c1TY ANDZIPcooe: Van Nuys, CA 91401
          BRANCH NAME: Northwest District


       PLAINTIFF/PETIT10NER: Plaintiff WESTERN AIR CHARTER, INC.

   DEFENDANT/RESPONDENT:              PAUL SCHEMBARI; ACP JET CHARTERS, et al.
                                                                                                             CASE NUMBER:
                     NOTICE AND ACKNOWLEDGMENT OF RECEIPT-CIVIL                                                           LC104971


 TO (insert name of party being served);_P_A_U_L_S_C_I_·I_E_M_B_A_R_l_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                         NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of malling shown below may subject you
    (orthe party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing; December 21, 2016

    Peter L. Steinman
                                   (TYPE OR PRINT NAMe)                                  (SIGNATURE OF SENDER-MUST NOT ae A PARTY IN THIS CASE)

                                                          ACKNOWLEDGMENT OF RECEIPT
     This acknowledges receipt of (to be completed by sender before m;;,i/ing):
     1. D      A copy of the summons and of the complaint.
     2. D      Other (specify):




     (To be completed by recipient):

      Date this form is signed:



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                        ON WHOSE BEHALF THIS FORM IS SIGNED)                       ACKNOWtEOOMENi IS rMOE ON 8EHALF OF ANOTHER PERSON OR ENTITY)


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     NOTICE TO DEFENDANT;
     (AV/SO AL DEMANDADO):
      PAUL SCHEMBARl, an individual; ACP JET C!·lARTERS, INC. dba
      PHENIX JET, a Florida corporation; and DOES i-SO, inchL~ive




      NOTICE! You have been sued. Th!! @Vrt rnoy decide again~\ yov without yaur being hear11 vnlos& you rl)~pond wilhln 30 day~. Ruud lho lntorrnnllon
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       Sanford L. Miche~n, Michelman & Robinson, LL~(l'0880 Wilshire Blvd. 19t11 Flr ., L.A., CA 90024; (310) 564-2670
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      (For proof of so@_ of this summons, use Proof of $mvli;e of.Summons (form POS-010}.)                                             ;!:}
      (Purti pro1.1b1J db'ahtroga d8 osla c/(oti6n uso el rorm1.1/orio Proof cf Service ol Summons, (POS-010)).~·
      ~ - - - - - . . . , . - - - ~ NOTICE TO THI: Pl:RSON SERVED! You ate se1Ver:I                                 ~•
       !SW.I                             1. CZ] as an lndMduaJ defendant
                                         2. D       as the perso.n suer:l under \ha 1ictitlot1i. namo of (specify);


                                                      3, [lJ on behalfof (spocify/:                          ACP JET CHARTERS, INC. dba PHBN!X JET
                                                           under:    CZJ ccp 416, 10 (cof)lora\lon)                           CJ   CCP 416.60 (minor}
                                                                     CJ          CCP 416.20 (defunct eorporoHon)              D    CCP 416.70 (consor,.ia1oc)
                                                                     CJ          CCP 41S.40 (assodalion or partnership)       D    CCP 416.90 [author~ed person)
                                                                     D   <1lher (spocify):
                                                      4.   CJ   b~· personal delivery on (datrt):
                                                                                                                                                                        P.a it1cf1
        ro'rl\M(loj:IM UfV.4!\d:UoryUe                                                              SUMMONS                                         C•~• a!tMIP~;r• §141,.!ID,••~
         Ju:!k.ti1 Cc,JftC:11,01 C¢U111rrio                                                                                                                      www.~JWO,c:t,O,Y
         SUM,\00 tne .... JW'/ ~~!o:<IJ
Case 2:17-cv-00420-JGB-KS Document 1-2 Filed 01/18/17 Page 21 of 21 Page ID #:29




                                                                                                                                                       SUM-100
                                           SUMMONS                                                                           l'OR COURT USE ONLY
                                                                                                                         (SOLO PARA US'1 DE LA COATEJ
                                       (CITACION JUDICIAL)
  NOTICE TO DEFENDANT:
  (AVISO AL DEMANDADO):
   PAUL SCHEMBARJ, an individual; ACP JET CHARTERS, INC. dba
   PHENIX JET, a Florida corporation; and DOES l ~50, inclusive
  YOU ARE BElNG SUED BY PLAINTIFF:
  (LO ESTA DI:MANDANDO EL DEMANDANTS):
   WESTERN AIR CHARTER, INC. dba JET EDGE INTERNATIONAL,
   a California corporation
    NOTICE! You have been sued. n,e court may decide against you without your being heard unle.;s you respond within 30 days. Read the lnformatjon
    below.
       Yau have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
    ser'Ved on the plaintiff. A letter or phone call wll\ not protect you. Yourwritten response must be in proper legal form If you want the court to hear your
    case. There may be a court form that you can use for your response. You can find these court forms and more Information at the California Courls
    Online Self-Help Center (www.courtinfo.ca,govlsel/help), your county law librasy, or the courthouse m1arest you, If you cannot pay the filing fee, ask
    the court Clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
    may be taken without further warning from the court,
        There are other legal requlrements. You may want to call an attorney light away, If you do not know an attorney, you may want to call an attorney
    referral sel'Vice. lfyou cannot afford an attorney, you may be eligible for free legal services from a nonproflUega! services program. You can locate
    these nonprofit groups at the Cafifomla Legal Services Web site (www.lawhelptnJlifomlP.org). lhc CattfornlP Courts Online Self-Help Center
    (www.courtlnfo,r;a.gov/sa/fhelp). or by eontaetlng your lccal court or county bar association. NOTE! Tlle court has a statutory Uen forwatved fees and
    cost$ on any settlement or arbitration award of S10,000 or more in a civil case. The court's lien must be paid before the court wlll dismiss the case.
    1AV1SOI Lohan demaridado. SI no rosponda dan/ro de 30 dfas, /a corle puede decidiren s11 contra sin escuc;har t:iU veroion. Lea /a lnformacion a
    contlnuec/(m.
       7iene 30 DfAS DE CALENDARIO despues de qua le entreguen esta ci/ec/6n y pape/es legafas para presantar une respuesta por escrito en este
    corte y hacer que se entregue una cop/a al demandante. Una carte o une llamsdr, tafaf6nica no lo pro/egen. SI/ respuesfa par escrito Ilene que estar
    en formato /egaf correcto s/ clesea qua procesen su case en la corte. Es posible que haya un forrnulario qwi vsted puede user para su respuesta.
    Puede enoonlrar eslos formulan'os de la corle y m6s lnformeci6n en el Centro de Ayuda do las Corles de Call/om/a ~ .sucorte.ca.gov), en la
    bibllotoca do loyes do su condado o en la carte que le quede mils ceroa. Si no puede pager la cuota de presentac/6n, pfda el socrotan'o de /a corle
    que re cf/j un formu/arfo de exenclon da pego de cuotas. SI no present a sv respuosla e tiempo, puede perder el ceso por inCtJmp/imielllo y la corle la
    podra quitar su sue/do, dinero y blenes sin mlis edVertencia.
      Hay otros requ/s/tos regales. Es recomendable que /lame a un abogado lnmad/a/amente, SI no canoce a un abogado, puede llemar a un servieio da
    ram/sion a a/Joeados. SI no puede pager a vn abogado, es posible que cumpfa con /os requisllos para obtener seNicfos /egales gratuitos de un
    progrome de $$Nlc/os fege/es sin fines de /ucro. Puede encontrarestos grupos sin fines de /ucro en el sitio web de Cafifomla Legal Services,
    (www.lawhelpcallfomfa.org}, en el Centro de Ayuda de /es Carles de Celifomia, (\WJW.$Ucorte.ea.gov) o ponlt!ndose en contacto con IP oorta o al
    co/egfo de ebogados /oc:a/es. AV/SO; Por /ey, la corte tfeml' derec/10 c1 rec/amar /ascuotas y Jos cos/os exentos por imponer un gravamen sobro
    auelq11iar reauparaaion t;Je $10,000 ¢ mas de valor recib/da median/e un acuerdo o uns conce/ll6n d11 arbltraje en un caso drJ darecho civil. none que
    pagar e/ gravamen de la carte antes de que la corle pueda dosechor ol caso,
   The name and address of the court Is:                                                                     CASe NUMBER:
   (El nombre y direcci6n de la corle es):
   Northwest District
   6230 Sylmar Avenue, Van Nuys, CA 91401
                                                   Los Angeles Superior Court
                                                                                                            l(Mlm•to de/ Ce!OJ:




   The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
   (El nombre, /a direcci6n y el numero de te/efono def sbogado def demandante, ode/ demandante que no tiene sbogado, es):
    Sanford L. Michelman, Michelman & Robinson, LLP, 10880 Wilshire Blvd. 19th Fir., L.A., CA 90024; (310) 564-2670
   DATE: December 20, 2016                                              Clerk, by                                                                        , Deputy
   (Feoha)                                                              (Secratarlo)                                                                      (Ad]unlo)
   (For proof of service of this summons, use Proof of Servlce of Summons (form POS-010).)
   (Para prueba de en/raga de esta ci!ati6n use el formularlo Proof of Sel\llce of Summons, (POS-010)).
                                     NOTICE TO THE PERSON SERVED: You are served
    ISEI\I.]
                                     1. [ZJ as an Individual defendant.
                                     2. D    as the person sued under the fictitious name of (specify):


                                          3.   [ZJ on behalfof (specify): ACP JET CHARTERS, INC. dba PHENIX JET
                                               under:   rn    CCP 416.10 (corporation)                          D       CCP 416.60 (minor)
                                                        D     CCP 416.20 (defunct corporation)                  D       CCP 416.70 (conservatee)
                                                        D     CCP 416.40 (association or partnership)           D       CCP 416.90 (authorized person}
                                                        D     other (specify):
                                          4.   D     by personal delivery on (date):
                                                                                                                                                             Pa 11 or1
    F01111 Adopte~ for Mandalo,y Use                                       SUMMONS                                                  Code of CM! PrO<Odure §§ 412.~. 465
      Jqdicial Ccum:il or CaM!omi•                                                                                                                  www.covrl!nlr>.w,gav




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      SUM·1QO (Rev, July 1, :I0()9j
